                  1   Joseph W. Cotchett (State Bar No. 36324)
                      Adam J. Zapala (State Bar No. 245748)
                  2   Elizabeth T. Castillo (State Bar No. 280502)
                  3   James G. Dallal (State Bar No. 277826)
                      COTCHETT PITRE & McCARTHY LLP
                  4   840 Malcolm Road
                      Burlingame, CA 94010
                  5   Telephone: (650) 697-6000
                      Facsimile: (650) 697-0577
                  6
                      jcotchett@cpmlegal.com
                  7   azapala@cpmlegal.com
                      ecastillo@cpmlegal.com
                  8   jdallal@cpmlegal.com

                  9   Lead Counsel for the Indirect Purchaser Plaintiffs
                 10

                 11                                  UNITED STATES DISTRICT COURT

                 12                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                 13                                       SAN FRANCISCO DIVISION
                 14

                 15   IN RE CAPACITORS ANTITRUST                            MDL No. 3:17-md-02801-JD
                      LITIGATION                                            Case No. 3:14-cv-03264-JD
                 16
                                                                            JOINT STATUS UPDATE
                 17   THIS DOCUMENT RELATES TO:                             AND REQUEST TO EXTEND TIME
                 18
                      ALL INDIRECT PURCHASER                                Judge: Hon. James Donato
                 19   PLAINTIFF ACTIONS

                 20
                 21

                 22

                 23

                 24

                 25

                 26
                 27

                 28

   Law Offices
COTCHETT, PITRE &
                      Joint Status Update and Request to Extend Time
 MCCARTHY, LLP
                      MDL No. 3:17-md-02801-JD; Case No. 3:14-cv-03264-JD
                  1          Indirect Purchaser Plaintiffs (“IPPs”), Shinyei Kaisha, Shinyei Technology Co., Ltd.,
                  2   Shinyei Capacitor Co., Ltd. (together, “Shinyei”), and Taitsu Corporation (“Taitsu”)
                  3   (collectively, “Parties”) respectfully submit this Joint Status Update and request to extend time.
                  4                                      JOINT STATUS UPDATE
                  5          Since this Court issued its March 19, 2021 Order denying the IPPs’ motion for
                  6   preliminary approval of settlements with Shinyei and Taitsu and setting a deadline of May 3,
                  7   2021 for the submission of revised papers, ECF No. 1490, the Parties have met and conferred
                  8   extensively and continue to make progress toward a final resolution of this Action.
                  9   Notwithstanding their extensive efforts, the Parties are not yet in a position to present a revised
                 10   preliminary approval motion or a revised settlement agreement to this Court. The Parties
                 11   anticipate that they will be in a position to do so within 60 days in light of the Golden Week
                 12   holidays in Japan.
                 13          Accordingly, the Parties agree that orderly administration as it concerns all remaining
                 14   actively litigating parties would be best served by extending the deadline for submission of
                 15   revised papers and holding the matter in abeyance for 60 days until July 2, 2021.
                 16

                 17   Dated: May 3, 2021                            Respectfully Submitted,

                 18                                                 Adam J. Zapala
                                                                    Joseph W. Cotchett (State Bar No. 36324)
                 19                                                 Adam J. Zapala (State Bar No. 245748)
                                                                    Elizabeth T. Castillo (State Bar No. 280502)
                 20                                                 James G. Dallal (State Bar No. 277826)
                 21                                                 COTCHETT PITRE & McCARTHY LLP
                                                                    840 Malcolm Road
                 22                                                 Burlingame, CA 94010
                                                                    Telephone: (650) 697-6000
                 23                                                 Facsimile: (650) 697-0577
                                                                    jcotchett@cpmlegal.com
                 24                                                 azapala@cpmlegal.com
                 25                                                 ecastillo@cpmlegal.com
                                                                    jdallal@cpmlegal.com
                 26
                                                                    Lead Counsel for the Indirect Purchaser Plaintiffs
                 27
                                                                    /s/ Gaspare J. Bono
                 28

   Law Offices
                      _____________________________________________________________________________
COTCHETT, PITRE &
                      Joint Status Update and Request to Extend Time
 MCCARTHY, LLP
                      MDL No. 3:17-md-02801-JD; Case No. 3:14-cv-03264-JD                                                  1
                  1                                           Gaspare J. Bono
                                                              Leslie A. Barry
                  2                                           DENTONS US LLP
                  3                                           1900 K Street, NW Washington, DC 20006
                                                              Email: gap.bono@dentons.com
                  4                                           leslie.barry@dentons.com

                  5                                           Andrew S. Azarmi
                                                              DENTONS US LLP
                  6
                                                              One Market Plaza, Spear Tower, 24th Floor
                  7                                           San Francisco, CA 94105
                                                              andrew.azarmi@dentons.com
                  8
                                                              Counsel for Defendants Shinyei Kaisha, Shinyei
                  9                                           Technology Co., Ltd. and Shinyei Capacitor Co.,
                                                              Ltd.
                 10

                 11
                                                              /s/ Jarod M. Bona
                 12                                           Jarod M. Bona
                                                              Aaron R. Gott
                 13                                           Alex Shear
                                                              Luke Hasskamp
                 14
                                                              BONA LAW PC
                 15                                           4275 Executive Square
                                                              Suite 200
                 16                                           La Jolla, CA 92037
                                                              jarod.bona@bonalawpc.com
                 17                                           aaron.gott@bonalawpc.com
                 18
                                                              Counsel for Defendant Taitsu Corporation
                 19

                 20
                 21                                   ORDER

                 22

                 23        The joint request is approved.
                                                                             S DISTRICT
                                                                          ATE           C
                                                                         T
                 24
                                                                                                        O
                                                                    S




                                                                                                         U
                                                                   ED




                                                                                                          RT




                                                                                      ERE              D
                      Dated: May 5, 2021
                                                               UNIT




                 25                                                             O ORD
                                                                        IT IS S
                                                                                                                R NIA




                 26
                                                                                                     nato
                                                               NO




                 27                                                                         mes Do
                                                                             J u d ge J a
                                                                                                            FO
                                                                RT




                                                                                                            LI




                 28                                                     ER
                                                                   H




                                                                                                            A




                                                                             N            C
                                                                                        F
                                                                          D IS T IC T O
   Law Offices
                      _____________________________________________________________________________
                                                                                R
COTCHETT, PITRE &
                      Joint Status Update and Request to Extend Time
 MCCARTHY, LLP
                      MDL No. 3:17-md-02801-JD; Case No. 3:14-cv-03264-JD                          2
